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                PROCEDURE
                                              Approving   Quincy L. Booth
                                              Authority:  Director
                SUBJECT:          INMATE GRIEVANCE PROCEDURE (IGP)
                NUMBER:           4030.1L
                Attachments:      Attachment A - Inmate Grievance Process and Time Frames
                                  Attachment B – Inmate Informal Resolution Compliant Form
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                                  Attachment D – Return of Grievance Form
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SUMMARY OF CHANGES:

Section                        Change
Entire Policy                  Changes throughout entire policy and attachments.



APPROVED:

Signature on File




_______________________                       __January 9th 2020____________
Quincy L. Booth, Director                       Date Signed
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1.   PURPOSE AND SCOPE. To provide administrative procedures through which
     inmates of the District of Columbia Department of Corrections (DOC) may seek
     resolution of complaints.

2.   POLICY

     a.     It is DOC policy to provide administrative means for expression and resolution
            of inmate issues and complaints through informal resolution. Many matters
            can and should be resolved directly and promptly between the inmate and
            authorized institutional staff and resolution shall be the primary goal.

     b.     If informal resolution does not provide a successful solution for the complaint
            or in the event of an emergency grievance, inmates may use the formal
            grievance process.

     c.     The grievance process has at least one level for appeal.

     d.     All complaints and grievances shall be considered and resolved in a fair and
            impartial manner.

     e.     Grievances are considered legal correspondence. Staff shall not open or
            inspect a sealed envelope that is labeled “Grievance” and addressed to the
            Grievance Coordinator, Warden or any Deputy Director of the DC DOC.

     f.     DOC employees, contractors, interns and volunteers shall not retaliate or
            allow one inmate to retaliate against another inmate for the good faith use of,
            or participation in, the inmate grievance process.

3.   APPLICABILITY

     a.     This directive applies to DOC Central Detention Facility (CDF”) and the
            Correctional Treatment Facility (CTF) that houses or provides services to
            inmates under the care and custody of the DOC.
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     4.    NOTICE OF NON-DISCRIMINATION. In accordance with the D.C. Human
           Rights Act of 1977, as amended, D.C. Code §2-1401.01 et seq., (Act) the
           District of Columbia does not discriminate on the basis of race, color, religion,
           national origin, sex, age, marital status, personal appearance, sexual
           orientation, gender identity or expression, familial status, family responsibilities,
           matriculation, political affiliation, genetic information, disability, source of
           income, status as a victim of an intrafamily offense, or place of residence or
           business. Sexual harassment is a form of sex discrimination that is also
           prohibited by the Act. Discrimination in violation of the Act will not be tolerated.
           Violators will be subject to disciplinary action.

5.    PROGRAM OBJECTIVES. The expected results of this program are:

      a.     Open lines of communication will identify, prevent and resolve matters
             thereby reducing the need for inmate complaints and grievances.

      b.     Inmate grievances will be resolved through formal procedures when informal
             means have failed.

      c.     Written responses based upon investigation and resolution when appropriate,
             including the reasons for the decision, shall be given to all inmate complaints
             and grievances within the prescribed time limits.

      d.     Inmates will use this procedure and pursue claims in court only if dissatisfied
             with resolutions obtained from the IGP.

6.    DIRECTIVES AFFECTED

      a.     Directive Rescinded

             PP 4030.1K           Inmate Grievance Procedures (IGP) (1/18/18)
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     b.     Directives Referenced

            PM 1300.1         Freedom of Information Act (FOIA)

            PS 2000.2          Retention and Disposal of Department Records

            PP 3350.2          Elimination of Sexual Abuse, Assault, and Misconduct

            PP 3800.3          ADA: Communications for Deaf and Hard of Hearing

            PP 4020.1          Inmate Orientation Program

            PP 4070.1          Inmate Telephone Access

            PM 5300.1          Inmate Disciplinary and Administrative Housing Hearing
                               Procedures

7.   AUTHORITY

     a.     DC Code § 24-211.02 Powers; Promulgation of Rules

     b.     Prison Litigation Reform Act (PLRA), 42 U.S.C. § 1997e.

     c.     D.C. Code § 2-531, et seq., D.C. Freedom of Information Act

8.   STANDARDS REFERENCED. American Correctional Association (ACA) 4th
     Edition Standards for Adult Local Detention Facilities 4-ALDF-2A-05, 4-ALDF-2A-
     27, 4-ALDF-6B-01, 4-ALDF-4C-01, 4-ALDF-4D-22-07 and 4-ALDF-6A-07.

9.   RESPONSIBILITIES

     a.     The Deputy Director for Programs and Case Management (DDPCM) or
            designee shall ensure that an inmate grievance procedure is established,
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            communicated and provides responses to inmates in accordance with the
            procedures set forth in this directive.

     b.     The respective Deputy Director(s) that receives an Inmate Informal
            Resolution Complaint (INF), Inmate Formal Grievance (FG), and Appeal
            Deputy Director (APPEAL) shall ensure that an investigation is conducted and
            an adequate response supported by DOC policy, procedure, rules and
            regulations, or law is prepared for each level of response in accordance with
            the procedures set forth in this directive.

     c.     Each facility and housing unit shall maintain a supply of all IGP forms in
            English and Spanish and have an IGP box for submission of IGPs. The forms
            used in the IGP process are the Informal Resolution Complaint (INF), Inmate
            Formal Grievance (FG), Warden’s Administrative Remedy (WARDEN), and
            Appeal – Deputy Director (APPEAL) Forms.


     d.     Each housing unit supervisor shall ensure that all forms are available and
            accessible to inmates during his or her tour of duty.

     e.     The inmate grievance procedures shall be available to inmates regardless of
            any disciplinary, classification, or other administrative or legal conditions
            affecting them.

     f.     The Central Detention Facility and Correctional Treatment Facility IGP
            Coordinators shall be responsible for coordinating the daily activities and
            operations associated with the IGP policy to include retrieving IGPs from the
            IGP box, distribution of IGPs to the appropriate area, tracking, database
            entry, establishment of response due dates and ensuring responses address
            inmate issue or concern.

     g.     The inmate should attempt to resolve any issue by communicating with a staff
            person before initiating an Informal Resolution Complaint form.
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10. GRIEVABLE ISSUES

     a.     Grievance Issues. Inmates may request informal resolution and/or grieve the
            following matters through the grievance process:

            1) Matters relating to the conditions of safety, care and supervision such as:

                a.    Safety,
                b.    Sanitation
                c.    Facility Management,
                d.    Improper staff action,
                e.    Inappropriate use of force by staff,
                f.    Housing,
                g.    Facility Transfer
                h.    Transportation
                 i.   Discrimination
                 j.   Protection from harm,
                k.    Sexual harassment and sexual safety, ;

            2) Matters relating to inmate programs, activities and services such as:

                a.    Access to Courts (e.g. law library, legal mail, notary, attorney calls),
                b.    Access to and quality of health care,
                c.    Access to personal hygiene,
                d.    Canteen,
                e.    Case Management Service,
                f.    Food Service,
                g.    Inmate Finance,
                h.    Mail,
                 i.   Programs and Activities,
                 j.   Religious services and practices
                k.    Communications (e.g. mail, visitation, telephone, legal)

            3) Matters relating to inmate property;
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            4) Matters relating to individual staff treatment and inmate actions;

            5) Matters relating to sentence computations, good time and jail credits,
               detainers, and late release;

            6) Matters related to the denial of access to the informal resolution or IGP
               processes;

            7) Reprisals against inmates for utilizing the IGP process;

            8) Matters pertaining to inmate treatment and legal rights established by
               federal and local law and regulations; and

            9) Matters related to the application of DOC rules, policies and/or procedures
               except those listed in Section b, ¶1 below (those matters have established
               appeal procedures); and

            10) All Prison Rape Elimination Act (PREA) complaints regarding sexual
               abuse and sexual violence shall be made immediately to any DOC staff
               person.

     b.     Non-Grievable Issues. In accordance with this directive the following issues
            cannot be grieved under this process.

            1) Institutional or Court Ordered Work Release decisions,

            2) Classification Committee decisions

            3) Requests under the Freedom of Information Act (FOIA) and HIPAA

            4) Inmate class action grievances or petitions;

            5) Final decisions on grievances after appeals are exhausted;

            6) Inmate Accident Claims, Tort Claims;
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            7) Complaints filed on behalf of other inmates;

            8) Federal and local court decisions, laws and regulations;

            9) Policies, procedures, decisions or matters to include but not be limited to
               transfers, sentence computations, warrants, detainers, writs, holds and
               parole/probation/release treatment decisions issued by the U.S. Parole
               Commission. the Federal Bureau of Prisons, Immigration and Customs
               Enforcement (ICE) or other Agencies, States and Jurisdictions;

            10) Disciplinary Board and Housing Hearing rulings cannot be grieved under
               this policy, but can be appealed to the Warden in accordance with PM
               5300.1, Inmate Disciplinary and Administrative Housing Hearing
               Procedures.


11. INMATE NOTIFICATION/LANGUAGE ACCESS

     a.     The DDPCM or designee shall ensure that this directive and any other written
            directives pertaining to the Inmate Grievance Procedure (IGP) are readily
            available to all inmates/offenders in English and Spanish.

     b.     The inmate grievance procedure is outlined in The Inmate Handbook, and
            further notification of the procedures shall also be given to each inmate during
            intake orientation.

     c.     This directive shall be readily available in the law library, case manager
            offices, and posted in inmate housing units.

     d.     The DDPCM or designee shall ensure that non-English speaking inmates,
            inmates who cannot read or are otherwise disabled (physically or mentally),
            receive assistance in order to understand and access the inmate grievance
            procedures when requested.
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12. STAFF NOTIFICATION/TRAINING

     a.     The Deputy Director(s) shall ensure that this directive and any other written
            directives pertaining to the IGP are made available to all staff assigned to
            DOC.

     b.     Center for Professional Development and Learning (CPDL) shall include a
            discussion of this directive as part of its Pre-Service, Basic Correctional
            Training (BCT) and In-Service training curriculum for employees.

     c.     Staff members shall have an opportunity to ask questions regarding the IGP
            and will be given an opportunity to have these questions answered orally.

     d.     The Training Administrator shall maintain the signed acknowledgements
            indicating that staff members have reviewed a copy of the IGP policy.

13. SUPERVISION AND MANAGEMENT

     a.     The Warden or designee, Deputy Warden and designated program managers
            shall visit housing units and inmate activity areas at least weekly to
            encourage informal contact with staff and inmates and to informally observe
            living and working conditions.

     b.     DOC Chief Case Manager, Case Managers, Correctional Supervisors and
            Housing Unit Officers shall make every attempt to keep the channels of
            communication open between staff and inmates and shall informally resolve
            issues expeditiously whenever possible.

     c.     When the IGP Coordinators or IGP Supervisor determine that the results of
            an inmate grievance reveal deficiencies at DOC, appropriate action shall be
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           taken. This action may include recommendations for procedural changes,
           refresher training, counseling, and corrective actions as appropriate.

14. INVESTIGATING GRIEVANCES. Managers, Supervisors, Chiefs, Special
    Assistants, Deputy Directors or designees shall investigate and respond to INF,
    FG, WARDEN and APPEAL forms within the established timeframe per the
    response due date specified by the IGP Coordinator. Persons implicated or
    involved in a grievance are prohibited from investigating that grievance.

15. CONFIDENTIALITY. Records concerning an individual’s participation in the IGP
    are considered confidential. These records shall be made available in accordance
    with the established procedures for confidential records and information, as
    contained in the D.C. Freedom of Information Act and agency PP 1300.1, Freedom
    of Information Act (FOIA).

16. INMATE GRIEVANCE ADVISORY COMMITTEE (IGAC). The CDF and CTF shall
    establish and maintain an IGAC, composed of three (3) to five (5) inmates. The
    committee shall consist of the IGP Coordinator, at least one program manager and
    one uniformed supervisor. The IGAC shall meet monthly and has the following
    responsibilities:

     a.    Discuss general inmate concerns and grievance matters as defined in this
           directive;

     b.    Provide recommendations and comments to the DDPCM and WARDENden
           regarding the operation, effectiveness, and credibility of the IGP process;

     c.    Provide recommendations to the Deputy Director(s) for improved activities
           and conditions;

     d.    Review the IGP Policy and Procedure during annual reviews; and

     e.    Prepare and for the Warden minutes of IGAC meetings to the DDPCM,
           Warden and designee for review and other appropriate action.
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17. DOC PROCEDURES FOR PROCESSING A GRIEVANCE

     a.    IGP Coordinator

           1) The IGP Coordinator or designee shall collect inmate grievances from
              each housing unit IGP box on three (3) business days per week, Monday
              through Friday (excluding Saturday, Sunday and holidays).

           2) The IGP Coordinator shall inform the inmate in writing of the following:

                 a. Resolution of INF, FG, WARDEN, and APPEAL;

                 b. When a non-emergency grievance is non-grievable;

                 c. When the matter cannot be grieved under the IGP;

                 d. If a grievance is not accepted as an emergency grievance and the
                    inmate may resubmit as an INF;
               3) The IGP Coordinator shall generate an inmate receipt using the Crystal
                  reports Informal Resolution Request Receipt or IGP Grievance Receipt.

               4) The IGP Coordinator shall forward the inmate receipt and responses via
                  DOC In-house Legal Mail.

               5) The IGP Coordinator shall input required data into JACCS and
                  PaperClip, which includes, but is not limited to;

                 a. Grievance Entry Information - The IGP Coordinator shall enter the
                    JACCS Grievance Type Code to indicate the subject of each complaint
                    in order to permit efficient reporting, tracking and monitoring of informal
                    resolution and grievances.

                 b. If an extension is granted and the date that a response is due changes,
                    enter the new date.
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               6) Review of FG responses for appropriateness.
               7) Track the grievance referred for investigation.
       8) The IGP Coordinator shall scan all INF, FG, WARDEN, and APPEAL forms
          with response into PaperClip.

       9) The IGP Coordinator shall forward the INF to the appropriate Division
          Manager for investigation and resolution.

       10) The IGP Coordinator will monitor response due dates for grievances filed
           using the Crystal Reports IGP Grievances Due Next 7 Days and IGP Overdue
           Grievances features.

       11) Notify the affected inmate in writing of the need for the extension and of the
           specific length of the extension.

       12) Apprise the appropriate Deputy Director and/or Supervisor when response
           due dates are not met.

       13) Ensure the inmate keeps/receives their copy of the INF, FG, WARDEN and/or
           APPEAL forms submitted.

       14) If the inmate is transferred or released from DOC, the IGP Coordinator shall
           close the IGP and enter as Closed – Inmate Release/Transferred in JACCS.

       15) The IGP Coordinator shall ensure that the response to the IGP form
           submitted is included in the inmate’s official institutional record in PaperClip.

       16) Review all FG responses and document whether the assigned manager or
           designee response is responsive to the issue or concern and cites DOC
           Policy, Procedures, Rules and Regulations or relevant law.
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       17) Bring matters of concern or potential problems to the DDPCM, IGP
           Supervisor, WARDEN and/or other appropriate manager’s attention.

     b.    The Department Manager or Special Assistant shall:

           1) Impartially investigate each INF or FG and make every effort to reach a
              reasonable resolution;

           2) Provide a detailed response to each INF or FG received.

           3) Provide a written response on the INF or FG form to the IGP Coordinator
              within the established timeframe for the INF or FG as noted on the INF or
              FG as established within this policy;


           4) Sign all INF or FG forms;


           5) In consultation with the IGP Coordinator, determine that a sufficient
              response to a grievance cannot be rendered within the prescribed time
              limitation and when an extension for a response is needed, the following
              shall occur:

                 a. The affected inmate must be notified in writing of the need for the
                    extension and of the specific length of the extension.

                 b. Otherwise, when a grievance does not receive a response within the
                    prescribed response time, as established in this policy, the inmate may
                    proceed to the next step in the grievance procedure.


               6) Talk to inmates when they see trends in INF or FGs.

     The respective Deputy Director(s) may assign staff to perform the above stated
     duties at the respective appeal levels.
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18. TIME REQUIREMENT FOR INITIAL INMATE COMPLAINT

     a.    The inmate is to submit all IGP within five (5) calendar days from the date of
           the incident causing the issue, unless the inmate can provide a reasonable
           explanation for a delay. Normally, the inmate should discuss the issue with a
           staff person with all available information to assist in the resolution of a
           complaint.

     b.    Failure of the inmate to properly attempt to resolve the complaint may result
           in the IGP form being rejected.

19. INFORMAL RESOLUTION COMPLAINT (INF) PROCESS

     a.    With the exception of emergency grievances, inmates are required to utilize
           the informal resolution process concerning disputes, or complaints using the
           INF form (Attachment C).

     b.    Inmate Informal Resolution/Grievance Forms.

           1) Inmates shall be able to request informal resolution within five (5) calendar
              days after satisfied triggering incident.

           2) Inmates may request the INF form (Attachment C) from any staff member
              who is assigned to his or her housing unit and the staff member shall give
              the inmate the form during his or her shift or tour of duty.

           3) The inmate shall request DOC staff sign and date the INF form prior to
              placing the INF form in the IGP box for the IGP Coordinator to pick up,
              review, record and disseminate or return.


           4) The IGP Coordinator will review the INF to determine if it is grievable. If
              the INF is not grievable, the IGP Coordinator will complete the Denial of
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               Inmate IGP form (Attachment B), log it in JACCs and PaperClip and return
               it to the inmate via DOC In-house Legal Mail.


           5) Where the INF is determined to be grievable, the IGP Coordinator will log
              the INF into the JACCs system to review, record, and disseminate to the
              appropriate department Manager and copy the Deputy Director for the
              respective division.

           6) The IGP Coordinator will forward the grievable INF to the appropriate
              Manager or designee with a response due date and cc the Deputy
              Director.


           7) The Manager or designee shall investigate to determine if a remedy is
              appropriate and possible. All informal resolutions relating to Contractors
              services shall also be forwarded to the Contract Monitors

           8) The Manager or designee shall develop a response supported by DOC
              Policy, Procedures, Rules and Regulations and relevant law to be
              provided to the inmate in an attempt to resolve the issue informally.


           9) The Manager or designee shall respond to the inmate complaint within
              four (4) business days or by the response due date noted on the INF by
              submitting the signed official response on the INF form received to the
              IGP Coordinator who will forward the response to the inmate via the DOC
              In-house Legal Mail.


           10) The inmate shall receive a response to the INF within seven (7) business
               days of receipt by the IGP Coordinator via DOC In-house Legal Mail.


           11) The IGP Coordinator will update JACCs with the response and scan the
               INF form with response into the inmate record in PaperClip.
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20. CRITERIA FOR FILING A FORMAL GRIEVANCE (FG)

     a.    An inmate may file an FG when:

           1) The inmate is not satisfied with the response of the INF, in which case the
              inmate shall file the FG within five (5) calendar days of receipt of the INF
              response, or

           2) The inmate has not received a response within seven (7) business days of
              filing the INF.

     b.    Each grievance must pertain to one specific incident, charge or complaint.

     c.    Inmates shall not submit redundant or duplicate copies of the same
           grievance.

21. FORMAL GRIEVANCE (FG) PROCESS

     a.    If the triggering incident that is the subject of the INF was not resolved to the
           satisfaction of the inmate, the inmate may submit the FG form and the INF
           form that contains the response in the IGP.

     b.    The inmate shall request DOC staff sign and date the FG form or separate
           paper prior to placing the FG in the IGP box.

     c.    Inmates in restrictive housing units shall place the grievance form in the
           locked box marked “IGP” during their individual recreation time or may also
           submit the FG to their assigned case manager or a supervisor, having first
           placed the FG in a sealed envelope. The case manager or supervisor shall
           then place the FG in the locked box marked “IGP”.

     d.    The Grievance Coordinator shall log all FGs into the JACCS system.
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     e.      The IGP Coordinator shall generate an inmate receipt using the Crystal
             Reports IGP Receipt (Attachment E).

     f.      The IGP Coordinator shall forward the inmate receipt to the inmate via DOC
             In-house Legal Mail.

     g.      The IGP Coordinator shall email the FG to the appropriate Special Assistant
             of each division or designee with the response due date of eleven (11)
             business. The Contract monitor shall be copied on all response requests
             related to contracted services.


     h.      The Special Assistant of each Division is responsible for responding to the FG
             and shall ensure that the IGP Coordinator receives the FG response
             supported by DOC Policy, Procedures, Rules and Regulations and relevant
             law and any corresponding documentation to ensure that the FG is
             appropriately responded.


     i.      The inmate shall receive a response to the FG, via DOC In-house Legal Mail,
             within 15 business days of receipt by the IGP Coordinator.

     j.      The IGP Coordinator shall update JACCs with the response and scan the FG
             form with response into the inmate record in PaperClip.


     k.      Unless an extension is granted due to extenuating circumstances, the inmate
             shall receive a response within 15 calendar days of submission.

22. REQUEST FOR WARDENDEN’S ADMINISTRATIVE REMEDY (WARDEN)

     a.      Within five (5) calendar days of receiving the FG response from the IGP
             Coordinator, the inmate may elect to appeal the decision by submitting a
             WARDEN form (Attachment F) with the IRC and FG responses via the IGP
             box.
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     b.      The inmate shall request DOC staff sign and date the WARDEN form prior to
             placing the WARDEN form in the IGP box.

     c.      The IGP Coordinator will record the WARDEN in JACCs and forward to the
             Warden or his designee.

     d.      The Warden or his designee shall review the WARDEN form and issue a
             response supported by DOC Policy, Procedures, Rules and Regulations, and
             relevant law within twelve (12) business days of receipt of the WARDEN form
             by the IGP Coordinator.
     e.      The Warden’s office shall ensure appropriate remedies for valid grievances
             are provided.

     f.      The IGP Coordinator will forward the WARDEN response to the inmate via In-
             house Legal Mail.


     g.      The IGP Coordinator shall scan the WARDEN form with response into the
             inmate record in PaperClip.

23. PROCEDURES FOR FILING AN EMERGENCY GRIEVANCE

     a.      Emergency grievances shall be defined as matters in which an inmate would
             be subjected to substantial risk of personal injury or serious and irreparable
             harm if the inmate filed the grievance in the routine manner with the normally
             allowed response time.

     b.      The inmate must prominently label and identify the grievance as an
             “Emergency Grievance” at the top of the INF Form (Attachment C) and state
             the nature of the emergency.

     c.      The inmate shall file the emergency grievance in a sealed envelope and shall
             mark the envelope as an emergency grievance. The inmate shall address his
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             or her emergency grievance to the lowest administrative level at which an
             appropriate remedy can be achieved (i.e., WARDENden, or Deputy Director).

     d.      If it is necessary for an inmate to file an emergency grievance on the
             weekend or a holiday, the sealed envelope shall be given to the Shift
             Supervisor. The Shift Supervisor will ensure that the Duty Administrative
             Officer is notified upon receipt of the emergency grievance.

     e.      If an inmate’s grievance is of a sensitive nature and he/she has reason to
             believe that he/she would be adversely affected if it was to become known at
             the institutional level, he/she may file the grievance directly with the Deputy
             Director. All such emergency grievances may be placed in the IGP box in the
             housing unit or forwarded via regular institutional mail.

     f.      The IGP Coordinator shall immediately review and consult with the Warden,
             to determine if the complaint is of an emergency nature as defined in this
             directive.

     g.      The IGP Coordinator shall inform the inmate if their grievance is not accepted
             as an emergency grievance and that it may be resubmitted as an INF via
             DOC In-house Legal Mail.

     h.      The following special provisions shall apply to emergency grievances:

             1) An emergency grievance shall be responded to within seventy-two (72)
                hours of its receipt.

             2) Within forty-eight (48) hours of receiving a response to the emergency
                grievance, an inmate may appeal to the next level of the IGP appeal
                process, unless the emergency went directly to the director.
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24. EMERGENCY GRIEVANCE FOR PREA ALLEGATIONS

     a. Inmates may, but are not required to, file a complaint of sexual assault, sexual
        abuse, or sexual misconduct directly with the Deputy Director as an emergency
        grievance.

     b. The Deputy Director or designee shall immediately forward the complaint to the
        PREA Coordinator, who will initiate the investigation with the Office of
        Investigative Services (OIS).

     c. OIS shall issue a final agency decision on the merits of the grievance within
        ninety (90) calendar days of the initial filing of the grievance. OIS may request
        an extension of time to respond, of up to seventy (70) calendar days if ninety
        (90) calendar days is insufficient to make an appropriate decision.

     d. OIS shall notify the inmate in writing of any such extension and provide a date
        by which a decision will be made.

     e. After receiving an emergency grievance alleging that an inmate is subject to a
        substantial risk of imminent sexual abuse, DOC shall provide an initial response
        within forty-eight (48) hours and shall issue a final decision within five (5)
        calendar days.

     f. The initial response and final agency decision shall document DOC’s
        determination whether the inmate is at substantial risk of imminent sexual
        abuse and the action taken in response to the emergency grievance.

25. FILING AN APPEAL - DEPUTY DIRECTOR


      a. If an inmate is not satisfied with the WARDEN response, he or she may file an
         appeal to the appropriate Deputy Director based on the issue.
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      b. This appeal shall be filed within five (5) calendar days of receipt of the
         WARDEN response, using the APPEAL form (Attachment G). The appeal
         shall include a copy of the INF, FG and WARDEN responses with supporting
         documentation. If the APPEAL form cannot be obtained; an inmate may
         submit the appeal on separate paper via the IGP box.


      c. The inmate shall request DOC staff sign and date the APPEAL form or
         separate paper prior to placing the APPEAL in the IGP box.


      d. The IGP Coordinator will record the appeal in JACCs and disseminate to the
         appropriate Deputy Director.

      e. The Deputy Director shall respond to an appeal within nineteen (19) business
         days following its receipt by the IGP Coordinator.


      f. The IGP Coordinator will forward the APPEAL response to the inmate via DOC
         In-house Legal Mail.


      g. The IGP Coordinator shall scan the APPEAL with response into the inmate
         record in PaperClip.


      h. The Deputy Director shall be the final level of appeal for each inmate that files
         a grievance consistent with the DOC IGP Policy.


26. IGP RESPONSE EXTENSION

      The IGP Coordinator, by request of the responder to the IGP, may request an
      extension of fifteen (15) business days when the response may not be provided by
      the its due date due as a result of extenuating circumstances. Examples include
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      but are not limited to: when a staff member is not available due to leave or
      otherwise is unavailable; when there is an unexpected emergency or the matter
      pending a broader investigation; or mail is delayed.


     a.    When a sufficient response to a grievance cannot be rendered within the
           prescribed time limitation, the following shall occur:

                     1) The affected inmate must be notified in writing of the need for the
                        extension and of the specific length of the extension.

                      b.) Otherwise, when a grievance does not receive a response within
                          the prescribed response time, as established in this policy, the
                          inmate may proceed to the next step in the grievance procedure.

26. IGP FORM SUBSTITUTION

      If the IGP form cannot be obtained, an inmate may submit his or her grievance on
      standard letter-sized paper. The grievance must contain the following information:

      a.       Name and DCDC number of the inmate filing the grievance;

      b.       Name of the housing unit/number and cell number where the inmate is
               housed;


      c.       Nature of the complaint or grievance, date and time of occurrence, and the
               remedy sought;


      d.       Inmate’s signature; and


      e.       Date submitted.
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27. INMATE ASSISTANCE IN SUBMITTING A GRIEVANCE-

      An inmate may assist another inmate at the same facility in preparing a grievance
      or an appeal. Assistance in preparing the grievance or appeal may include an
      inmate writing the document for another inmate who cannot write, has limited
      understanding of English, or whose handwriting is not legible. However, the
      complaining inmate must sign the grievance or appeal and submit it to staff for
      signature and date before placing in IGP box.


28. INMATE ABUSE OF THE GRIEVANCE PROCESS

      All grievances must be presented in good faith and for good cause. Inmates shall
      not deliberately misuse the grievance process. If it is documented by the DDPCM
      or designee that an inmate is deliberately abusing the grievance process through
      excessive filing of grievances 1 , filling frivolous or fraudulent grievances, filing
      grievances concerning non-grievable issues, intentionally filing emergency
      grievances that are non-emergencies, and/or repeatedly refusing to follow these
      grievance procedures, the DDPCM or designee will notify the inmate, in writing,
      that such actions are creating an administrative burden at the expense of
      legitimate grievances and that and that their excessive, fraudulent, additional
      grievance(s) will not be accepted by the agency or not be considered until all
      pending grievances have been resolved.

       If an inmate’s excessive grievance filing is determined to be a result of the
       inmate’s inherent intent of deception, i.e., lying, a disciplinary report shall be


1
 The filing of more than five grievances in a week or 20 or more grievances in any 180
consecutive days may be considered excessive and may be determined to be abusing
the grievance procedure. However, abuse shall not be determined solely on the number
of grievances. The assessment shall also take into consideration the nature of the
grievances and whether or not any other abuse factors identified in this program
statement.
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       written by the IGP Coordinator, in accordance with PM 5300.1, Inmate
       Disciplinary and Administrative Housing Hearing Procedures.

29. TRANSFERS/RELEASES

      If a grievance is submitted for response and the inmate is transferred or released
      from DOC custody, resolution of the grievance will be closed.

30. REPORTING

      a.   The IGP Supervisor shall email the Crystal Report IGP Complaint Log that
           records all formal grievances entered in JACCS. Not later than the 10 th day
           of each month, a copy of this log, reflecting grievances filed during the
           previous month, shall be forwarded to the Deputy Directors, Warden, Deputy
           Wardens and Managers or Supervisors that receive FG or WARDEN forms
           during the month.

      b.   The IGP Coordinator shall enter a grievance type code in the JACCs IGP
           screen for each INF entered. If a subject category does not exist, the IGP
           Coordinator will recommend the creation of a grievance type code to the IGP
           Supervisor.


      c.   All records, logs, and reports that pertain to inmate IGPs shall be maintained
           in accordance with PS 2000.2, Retention and Disposal of Department
           Records.

      d.   The Director shall provide to the Council on a quarterly basis internal reports
           relating to living conditions in the Central Detention Facility, including inmate
           informal and formal grievances and a copy of the Unresolved Grievance
           Logs.


31. IGP EVALUATION
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      a.   The DOC Compliance and Review Officer shall review IGP reports and
           conduct quarterly audits, and, in conjunction with the DDPCM or designee
           Warden, Deputy Wardens and relevant Program Managers to determine
           plans of action where warranted to improve safety and program performance.

     b.    At a minimum, the reviews described above, shall include assessments of the
           following operational factors:

           1)   Compliance with Response Time – An assessment to determine if
                inmate grievances are responded to within the prescribed time periods.

           2)   Availability of Forms – A determination of the accessibility and
                availability of the forms used to submit grievances.

           3)   Response to Grievances – An analysis to determine if appropriate
                responses and remedies are being provided in response to grievances.

           4)   Credibility of the System – An assessment of inmate knowledge of,
                satisfaction with, and confidence in the IGP.

           5)   Conclusions and Recommendations – An evaluation of the data
                generated through the IGP process (i.e., number of grievances, types of
                grievances filed, number and types of grievances by institutions). This
                data shall be used to develop specific conclusions and
                recommendations regarding Department operations and the DOC IGP.

ATTACHMENTS


Attachment A – Inmate Grievance Process and Time Frames
Attachment B – Denial of Inmate IGP Form
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